 1 John W. Dillon (SBN 296788)
   Dillon Law Group APC
 2 2647 Gateway Road, Suite 105 No. 255
   Carlsbad, California 92009
 3 Phone: 760-642-7150
   Fax: 760-642-7151
 4 JDillon@Dillonlawgp.com
 5   Attorney for Plaintiffs
 6
 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
11
     MATTHEW JONES, et al.,                    3:19-cv-01226-L-AHG
12
                                 Plaintiffs,
13
                  v.                           JOINT MOTION FOR
14                                             MODIFICATION OF
                                               SCHEDULING ORDER
15   ROB BONTA, in his official capacity
     as Attorney General of the State of       Dept:        5B
16   California, et al.,
                                               Judge:       The Honorable M. James
17                             Defendants.                  Lorenz and Magistrate
                                                            Judge Alison H. Goddard
18
                                               Final Pretrial Conference
19                                             Date:         January 24, 2022
20                                             Action
                                               Filed:       July 1, 2019
21
                                               First Amended Complaint
22                                             Filed:     July 30, 2019
23                                             Second Amended Complaint
                                               Filed:    November 8, 2019
24
25
26
27
28
                                           Joint Motion for Modification of Scheduling Order
                                                                   (3:19-cv-01226-L-AHG)
 1         Plaintiffs Matthew Jones, et al., and Defendants Rob Bonta, in his official
 2   capacity as Attorney General of the State of California and Luis Lopez in his official
 3   capacity as Director of the Department of Justice Bureau of Firearms,1 through their
 4   respective counsel of record and pursuant to Federal Rule of Civil Procedure
 5   16(b)(4) and Civil Local Rules 7.1 and 7.2, hereby jointly move the Court for a
 6   modification of all deadlines set forth in the operative scheduling orders in this
 7   matter. ECF Nos. 71 & 80. This joint motion is made to accommodate the
 8   plaintiffs’ expert witnesses, who have requested additional time to complete their
 9   rebuttal expert reports. This request is also supported by the declaration of John W.
10   Dillon, filed concurrently herewith.
11         The parties previously sought six modifications of the Court’s original
12   scheduling order. The first modification moved all dates set forth in the Court’s
13   original scheduling order by approximately 5 to 6 weeks; the second moved the fact
14   discovery deadline from November 6, 2020 to December 15, 2020; the third moved
15   all dates out by approximately 2-3 months due to the denial of Plaintiffs’ motion for
16   preliminary injunction and interlocutory appeal of that denial; the fourth extended
17   the deadline for close of fact discovery; the fifth extended the deadlines for close of
18   expert and fact discovery by a few weeks in light of the scheduling of oral argument
19   on May 12, 2021 in the interlocutory appeal; and the sixth extended all deadlines set
20   forth in the operative scheduling orders in this matter by approximately 60-75 days.
21   See ECF Nos. 57, 58, 64, 65, 70, 71, 72, 73, 75, 76, 79, 80; see also Jones v.
22   Becerra, No. 20-56174 (9th Cir. Dec. 23, 2020), ECF No. 23, Trans. ID 11938842
23   (Ninth Circuit order setting modified appellate briefing schedule); Jones v. Becerra,
24   No. 20-56174 (9th Cir. Feb. 28, 2021), Trans. ID 12018921. The sixth request
25   sought to modify the scheduling order in light of the Ninth Circuit’s March 26, 2021
26         1
            Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Attorney
     General Rob Bonta is automatically substituted as a defendant in place of his
27   predecessor, former Attorney General Xavier Becerra, and Director Luis Lopez is
     automatically substituted as a defendant in place of his predecessor, former Acting
28   Director Brent E. Orick.
                                                1
                       Joint Motion for Modification of Scheduling Order (3:19-cv-01226-L-AHG)
 1   order directing the parties to submit supplemental briefing on several interrelated
 2   questions in the pending interlocutory appeal of this Court’s denial of Plaintiffs’
 3   motion for preliminary injunction. ECF No. 79; see also Jones v. Becerra, No. 20-
 4   56174 (9th Cir. Mar. 26, 2021), ECF No. 50, Trans. ID 12055134. This joint
 5   motion seeks to extend all deadlines set forth in the operative scheduling orders in
 6   this case by approximately 14 days to allow all parties’ experts and rebuttal experts
 7   to prepare substantive reports on multiple material issues in this case.
 8         Good cause exists for the requested modification. All parties have engaged
 9   several experts to provide testimony on critical issues in this case. Parties have
10   exchanged initial expert reports in accordance with the current scheduling order.
11   The current deadline for the exchange of parties’ rebuttal expert reports is July 7,
12   2021. Although parties’ experts have worked diligently to provide rebuttal reports
13   according to the current schedule, due to work obligations, the plaintiffs’ experts
14   have requested a brief extension of time to complete their reports. The subject
15   matter involved in these reports is extensive, detailed, and involves multiple
16   substantive issues. It would be a benefit to all parties and to the Court to ensure that
17   such reports are adequately prepared to ensure their substance is both clear and
18   informative. Further, to ensure the remaining deadlines in the Court’s current
19   scheduling order are not negatively affected by this requested extension, all parties
20   agree that all deadlines should also be set back the same amount of time
21   (approximately 14 days).
22   I.       RELEVANT PROCEDURAL BACKGROUND
23            Plaintiffs filed their First Amended Complaint for Declaratory and
24   Injunctive Relief (FAC) on July 30, 2019 and served the FAC and summons on
25   August 1, 2019. ECF No. 3; ECF No. 5 at 1, n.2. A case management conference
26   was held before Magistrate Judge Goddard on October 9, 2019, ECF No. 15 at 1,
27   and thereafter, Plaintiffs filed a Second Amendment Complaint, ECF No. 20.
28   Plaintiffs then filed a motion for a preliminary injunction on November 12, 2019,
                                                2
                       Joint Motion for Modification of Scheduling Order (3:19-cv-01226-L-AHG)
 1   which Defendants opposed. ECF Nos. 21 & 25.
 2         In the Joint Case Management Statement that the parties filed in advance of
 3   the October 9, 2019 case management conference with Magistrate Judge Goddard,
 4   and during the case management conference, the parties notified the Court that they
 5   planned to wait to conduct discovery until after resolution of Plaintiffs’ preliminary
 6   injunction motion, and proffered the joint view that it would be premature to set a
 7   discovery schedule until after resolution of that motion. ECF No. 11 at 13, 20, 22;
 8   see also ECF Nos. 21 & 57. The parties desired to delay discovery in part because
 9   they anticipated that there would be an interlocutory appeal of any order on the
10   preliminary injunction motion. ECF No. 11 at 22. Nonetheless, in accordance with
11   the directions in Magistrate Judge Goddard’s ENE order, the parties proposed in
12   their Joint Case Management Statement a set of discovery and pre-trial deadlines
13   tied to resolution of the preliminary injunction motion. Id. at 22-23 [the parties
14   assuming at that time, for purposes of proposing dates, that the preliminary
15   injunction motion would be heard and resolved in early 2020]. The Court issued its
16   original scheduling order after the case management conference. ECF No. 15.
17   Subsequent modifications of the scheduling order were sought and granted in the
18   latter half of 2020, as discussed above, including to adjust the schedule to respond to
19   the current COVID-19 pandemic, to accommodate scheduling of depositions in light
20   of illness, individual plaintiffs’ school exams, and work schedules, and in light of
21   counsels’ unusually heavy caseloads on this and other matters due to the pandemic
22   and other factors. ECF No. 57, 58, 64, 65.
23         The Court denied Plaintiffs’ motion for preliminary injunction on November
24   3, 2020. ECF Nos. 65, 66 (“Preliminary Injunction Order”). Plaintiffs filed their
25   notice of appeal of the Preliminary Injunction Order on November 6, 2020. ECF.
26   No. 67. Because of the accelerated nature of the interlocutory appeal, the briefing
27   schedule set by the Ninth Circuit required the parties to complete the appellate
28   briefing on an expedited basis. Jones v. Becerra, No. 20-56174 (9th Cir. Nov. 10,
                                                3
                       Joint Motion for Modification of Scheduling Order (3:19-cv-01226-L-AHG)
 1   2020), ECF No. 4, Trans. ID 11888196. According to a modified briefing schedule,
 2   the parties’ briefs on appeal were due in December 2020 and January and February
 3   2021. Jones v. Becerra, No. 20-56174 (9th Cir. Dec. 23, 2020), ECF No. 23, Trans.
 4   ID 11938842. Because of the expedited schedule in the Ninth Circuit, the parties
 5   sought an extension of time on all deadlines in this case of approximately 2-3
 6   months to alleviate some of the burden the parties bore in simultaneously briefing
 7   the appeal and conducting fact and expert discovery. See ECF No. 70. This Court
 8   granted that motion for good cause shown on November 16, 2020. See ECF No. 71.
 9         On January 29, 2021, the parties jointly moved to extend the close of fact
10   discovery to one week after the close of expert discovery in light of the ongoing
11   appellate briefing, conflicts in the schedules of the parties and counsel due to
12   professional obligations and unexpected personal needs, and the parties’ ongoing
13   discovery efforts. See ECF No. 72. This Court granted that request for good cause
14   shown on February 1, 2021. ECF No. 73.
15         Briefing in the interlocutory appeal was completed on February 9, 2021.
16   Jones v. Becerra, No. 20-56174 (9th Cir. Feb. 9, 2021), ECF No. 44, Trans. ID
17   11997833. On February 28, 2021, the Ninth Circuit notified the parties that oral
18   argument in the interlocutory appeal was set for May 12, 2021. See Jones v.
19   Becerra, No. 20-56174 (9th Cir. Feb. 28, 2021), Trans. ID 12018921. On March 5,
20   2021, in light of the scheduling of oral argument in the appeal for a time that
21   overlapped significantly with several fact and expert discovery deadlines set in this
22   Court, the parties jointly requested a modest extension of time of a few weeks on
23   solely the fact and expert discovery deadlines in the case. ECF No. 76. This Court
24   granted that request on March 8, 2021. ECF No. 77.
25          On March 26, 2021, the Ninth Circuit issued an order in the interlocutory
26   appeal requesting supplemental briefing on three interrelated questions addressing
27   the original public meaning of the Second Amendment and the potential use of the
28   tool of corpus linguistics to interpret the amendment. ECF No. 78; see also Jones v.
                                                4
                       Joint Motion for Modification of Scheduling Order (3:19-cv-01226-L-AHG)
 1   Becerra, No. 20-56174 (9th Cir. Mar. 26, 2021), ECF No. 50, Trans. ID 12055134.
 2   Under that order, the parties filed supplemental briefs and supplemental responsive
 3   briefs in the Ninth Circuit on April 16, 2021 and April 26, 2021 respectively. On
 4   March 30, 2021, the parties sought another modification of the scheduling order in
 5   light of the Ninth Circuit’s March 26, 2021 order directing the parties to submit
 6   supplemental briefing. ECF No. 79; see also Jones v. Becerra, No. 20-56174 (9th
 7   Cir. Mar. 26, 2021), ECF No. 50, Trans. ID 12055134. This Court granted the
 8   parties’ request on April 1, 2021. ECF No. 80. Oral argument was held in the
 9   interlocutory appeal on May 12, 2021, and the parties await the Ninth Circuit’s
10   ruling.
11           Under the Court’s operative scheduling orders in this action, ECF. Nos. 71 &
12   80, the deadlines currently set in this case are as follows:
13
14    Action                                                      Current Deadline
        • Exchange of rebuttal expert witnesses                   Wednesday, July 7,
15      • Supplementation of parties’ disclosures                 2021
16          regarding contradictory or rebuttal evidence
            under Rule 26(a)(2)(D)
17
18       •     Expert discovery to be completed                   Wednesday, Aug.
                                                                  11, 2021
19       •     Close of fact discovery                            Wednesday, Aug.
20                                                                11, 2021
         •     All pretrial motions, other than motions in        Wednesday, Sept.
21             limine, to be filed                                22, 2021
22
         •     Mandatory settlement conference                    Friday, Dec. 3,
23                                                                2021, at 2 p.m.
24       •     Plaintiffs’ written settlement proposal to be      Friday, Nov. 12,
               served                                             2021
25
26       •     In-person or telephonic meet-and-confer            No later than
               regarding settlement offer to be held              Friday, Nov. 19,
27                                                                2021
28
                                                  5
                         Joint Motion for Modification of Scheduling Order (3:19-cv-01226-L-AHG)
 1         •    Defendants’ written response to settlement
 2              proposal to be made in writing, prior to the
                meet-and-confer
 3
 4         •    Each party to serve and lodge settlement           Wednesday, Nov.
                conference statement                               24, 2021
 5
 6         •    Optional confidential settlement letter may be     Wednesday, Nov.
                lodged for Court’s review                          24, 2021
 7
           •    Compliance with Rule 26(a)(3) pre-trial            Wednesday, Dec.
 8
                disclosure requirements in advance of final        22, 2021
 9              pre-trial conference
10         •    Parties to meet and take action required by        Wednesday, Jan. 5,
11              Local Rule 16.1(f)(4)                              2022
12         •    Plaintiffs to provide defendants with draft        Monday, Jan. 10,
13              proposed final pretrial order for review and       2022
                approval
14
15         •    The proposed final pretrial conference order,      Monday, Jan. 17,
                including objections to Rule 26(a)(3) pretrial     2022
16              disclosures, shall be served and lodged with
17              Judge Lorenz
18         •    Final pretrial conference                          Monday, Jan. 24,
19                                                                 2022 at 11 a.m.

20
21   II.         GOOD CAUSE EXISTS TO MODIFY THE SCHEDULING ORDER

22             Counsel for the parties have met and conferred and agree that a modification

23   of the scheduling order to continue all deadlines currently set in the case by

24   approximately 14 days is appropriate to allow the parties’ experts to provide

25   sufficient rebuttal reports to the Court, while avoiding significant new conflicts

26   between the appellate schedule and the expert discovery and other deadlines set

27   forth in this Court’s operative scheduling orders. See Declaration of John W. Dillon

28   ¶¶ 2-5 (Dillon Decl.).
                                                   6
                          Joint Motion for Modification of Scheduling Order (3:19-cv-01226-L-AHG)
 1           By allowing this modest extension of time, parties will be able to provide this
 2   Court with adequate and substantive rebuttal expert reports on material issues in this
 3   case. The modification of all dates in the scheduling order to align with this 14-day
 4   extension will further ensure that parties still have adequate time to complete both
 5   fact and expert discovery, as several depositions still need to be taken, as well as to
 6   comply with the remaining deadlines in the scheduling orders. Dillon Decl., ¶¶ 2-5.
 7   The requested extension of approximately 14 days would relieve current scheduling
 8   burdens.
 9           WHEREFORE:
10           The parties hereby jointly request that the Court issue an order modifying all
11   remaining deadlines set in the operative scheduling orders (ECF Nos. 71 & 80) as
12   follows:
13
14    Action                                          Current Deadline New Deadline
        • Exchange of rebuttal expert                 Wednesday, July 7, Wednesday,
15          witnesses                                 2021               July 21, 2021
        • Supplementation of parties’
16
            disclosures regarding contradictory
17          or rebuttal evidence under Rule
18          26(a)(2)(D)

19       •    Expert discovery to be completed        Wednesday, Aug.        Wednesday,
20                                                    11, 2021               Aug. 25, 2021
         •    Close of fact discovery                 Wednesday, Aug.        Wednesday,
21                                                    11, 2021               Aug. 25, 2021
22       •    All pretrial motions, other than        Wednesday, Sept.       Wednesday,
              motions in limine, to be filed          22, 2021               Oct. 6, 2021
23
24       •    Mandatory settlement conference         Friday, Dec. 3,        Friday, Dec. 17,
                                                      2021, at 2 p.m.        2021, at 2 p.m.
25       •    Plaintiffs’ written settlement          Friday, Nov. 12,       Tuesday, Nov.
26            proposal to be served                   2021                   30, 2021

27
28
                                                 7
                        Joint Motion for Modification of Scheduling Order (3:19-cv-01226-L-AHG)
 1       •    In-person or telephonic meet-and-       No later than          No later than
 2            confer regarding settlement offer to    Friday, Nov. 19,       Friday, Dec. 3,
              be held                                 2021                   2021
 3
 4       •    Defendants’ written response to
              settlement proposal to be made in
 5            writing, prior to the meet-and-
 6            confer

 7       •    Each party to serve and lodge           Wednesday, Nov.        Wednesday,
              settlement conference statement         24, 2021               Dec. 8, 2021
 8
 9       •    Optional confidential settlement        Wednesday Nov.         Wednesday,
              letter may be lodged for Court’s        24, 2021               Dec. 8, 2021
10
              review
11
         •    Compliance with Rule 26(a)(3) pre- Wednesday, Dec.             Friday, January.
12            trial disclosure requirements in      22, 2021                 7, 2022
13            advance of final pre-trial conference
14       •    Parties to meet and take action         Wednesday, Jan. 5, Wednesday,
15            required by Local Rule 16.1(f)(4)       2022               Jan. 19, 2022
16       •    Plaintiffs to provide defendants with Monday, Jan. 10,         Monday
17            draft proposed final pretrial order   2022                     January 24,
              for review and approval                                        2022
18
19       •    The proposed final pretrial             Monday, Jan. 17,       Monday,
              conference order, including             2022                   January 31,
20            objections to Rule 26(a)(3) pretrial                           2022
21            disclosures, shall be served and
              lodged with Judge Lorenz
22
23       •    Final pretrial conference               Monday, Jan. 24,       Monday, Feb. 7,
                                                      2022 at 11 a.m.        2022 at 11 a.m.
24
25           Although the parties do not anticipate seeking further modification in the
26   future, they also jointly request that the Court’s order modifying the scheduling
27   order reserve the parties’ ability to seek the Court’s approval of further
28
                                                  8
                        Joint Motion for Modification of Scheduling Order (3:19-cv-01226-L-AHG)
 1   modifications for good cause should the need to do so arise.
 2         A proposed order will be lodged with the Court concurrently with the
 3   submission of this joint motion.
 4
     July 2, 2021                                  Respectfully Submitted,
 5
                                                   DILLON LAW GROUP, APC
 6
 7
 8                                                 _/s/ John W. Dillon______________
                                                   JOHN W. DILLON
 9                                                 Attorney for Plaintiffs
10
11                                                 ROB BONTA
                                                   Attorney General of California
12                                                 MARK BECKINGTON
                                                   Supervising Deputy Attorney General
13                                                 JOHN D. ECHEVERRIA
                                                   Deputy Attorney General
14
15
16                                                 _/s/ Jennifer E. Rosenberg________
                                                   JENNIFER E. ROSENBERG
17                                                 Deputy Attorney General
                                                   Attorneys for Defendants Rob Bonta,
18                                                 in his official capacity as Attorney
                                                   General of the State of California,
19                                                 and Luis Lopez, in his official
                                                   capacity as Director of the
20                                                 Department of Justice Bureau of
                                                   Firearms
21
22
23
24
25
26
27
28
                                               9
                      Joint Motion for Modification of Scheduling Order (3:19-cv-01226-L-AHG)
 1      Certification re: Electronic Signatures Pursuant to Electronic Case Filing
             Administrative Policies and Procedures Manual, Section 2(f)(4)
 2
 3         I, John W. Dillon, hereby certify and attest that the content of this document
 4   is acceptable to all persons required to sign the document and that I have obtained
 5   authorization for use of the electronic signatures of all parties on the document,
 6   including Deputy Attorney General Jennifer E. Rosenberg, Attorney for Defendants.
 7
 8
     July 2, 2021
 9
10
11                                                   _/s/ John W. Dillon________
                                                     JOHN W. DILLON
12                                                   Attorney for Plaintiffs
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                10
                       Joint Motion for Modification of Scheduling Order (3:19-cv-01226-L-AHG)
